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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )        CASE NO. 8:11cr331-2
                                               )
                            Plaintiff,         )
                                               )                     ORDER
       -vs-                                    )
                                               )
MAUDE T. HILL                                  )
                                               )
                         Defendant.            )


       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize David Tighe, as a Criminal Justice Act training panel member, to

assist in the defense of MAUDE T. HILL.                          .

       Accordingly, pursuant to the terms of Appendix I, Part I(C) of the Amended Criminal

Justice Act Plan for the District of Nebraska, David Tighe is hereby assigned to assist A.

Michael Bianchi, Criminal Justice Act panel attorney, in the representation of the Defendant

in the above-captioned case, and must file an entry of appearance forthwith. David Tighe

shall not be eligible to receive compensation for services in this case.

       A. Michael Bianchi shall continue to be primary counsel on behalf of the Defendant,

MAUDE T. HILL.                            .

       Dated: September 27, 2011

                                   BY THE COURT:


                                   s/Thomas D. Thalken
                                   United States Magistrate Judge
